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 5
     Attorneys for Plaintiff
 6   THERESA BROOKE
 7                             UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9
     THERESA BROOKE, a married woman
10
     dealing with her sole and separate claim,       Case No: 2:24-cv-4
11
                          Plaintiff,                 NOTICE OF VOLUNTARY
12                                                   DISMISSAL WITH PREJUDICE
13   vs.

14   HOTEL CHC INC.,
15
                           Defendant.
16
17
            NOTICE IS HEREBY GIVEN that Plaintiff voluntarily dismisses the above case
18
     with prejudice. Each party to bear their own fees and costs.
19
20          RESPECTFULLY SUBMITTED this 10th day of March, 2024.
21
22                                               /s/ Peter Kristofer Strojnik
                                                 Peter Kristofer Strojnik (242728)
23
                                                 Attorneys for Plaintiff
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